                    Case 14-10979-CSS                    Doc 3390-5         Filed 01/28/15    Page 1 of 1




                                                            EXHIBIT D

                              Detailed Description of Expenses and Disbursements
Matter        Date            Name               Title              Description   Amount                Narrative
  1        12/9/2014        GORAB, L        LEGAL              DUPLICATING          $74.00    740 copies, made on floor 38
                                            ASS'T                                             in room 50 12:32:29
  1        12/9/2014        GORAB, L        LEGAL              DUPLICATING         $470.60    724 copies, made on floor 18
                                            ASS'T              -COLOR                         in room 00 12:51:54
  1        12/9/2014        GORAB, L        LEGAL              DUPLICATING          $15.60    156 copies, made on floor 18
                                            ASS'T                                             in room 00 11:59:28
  1        11/19/201        HAGENA,         ASSOCIAT           DUPLICATING          $42.90    66 copies, made on floor 18 in
               4            ANTJE           E                  -COLOR                         room 00 14:59:54
  1        11/19/201        HAGENA,         ASSOCIAT           DUPLICATING          $61.00    610 copies, made on floor 18
               4            ANTJE           E                                                 in room 00 14:28:02
  1        11/18/201        LEVIN, R        PARTNER            ULTRAMAR            $403.00    Pas: LEVIN,RICHARD, tckt #
               4                                               TRAVEL                         0000148961 ULTR TrvlDT:
                                                                                              11/20/14 Class: Business
                                                                                              Class From: NEW
                                                                                              YORK/PENN STA To:
                                                                                              WILMINGTON Carrier:
                                                                                              AMTRAK
  1        11/20/201        LEVIN, R        PARTNER            TRAVEL-A/P          $(25.00)   TICKET # 3225126033737
               4                                               VOUCHER
  4        12/5/2014        GORAB, L        LEGAL              BINDING/GRA           $0.50    2 copies, made on floor 18 in
                                            ASS'T              PHICS/VIDEO                    room 00 15:45:44
  4        12/16/201        GORAB, L        LEGAL              DUPLICATING          $72.20    722 copies, made on floor 18
               4                            ASS'T                                             in room 00 15:48:41
  4        12/16/201        GORAB, L        LEGAL              DUPLICATING           $5.00    50 copies, made on floor 38 in
               4                            ASS'T                                             room 50 16:07:03
  4        12/16/201        GORAB, L        LEGAL              DUPLICATING          $15.60    156 copies, made on floor 18
               4                            ASS'T                                             in room 00 15:45:22
  4        12/16/201        GORAB, L        LEGAL              DUPLICATING          $74.00    740 copies, made on floor 38
               4                            ASS'T                                             in room 50 16:07:50
  4        12/16/201        GORAB, L        LEGAL              BINDING/GRA         $185.00    740 copies, made on floor 38
               4                            ASS'T              PHICS/VIDEO                    in room 50 16:08:15
  4        12/16/201        GORAB, L        LEGAL              BINDING/GRA           $0.50    2 copies, made on floor 18 in
               4                            ASS'T              PHICS/VIDEO                    room 00 15:49:01
  4        12/16/201        GORAB, L        LEGAL              BINDING/GRA           $0.50    2 copies, made on floor 18 in
               4                            ASS'T              PHICS/VIDEO                    room 00 15:50:56
  4        12/16/201        GORAB, L        LEGAL              BINDING/GRA             0.50   2 copies, made on floor 38 in
               4                            ASS'T              PHICS/VIDEO                    room 50 16:07:27
  4        12/23/201        LEVIN, R        PARTNER            LEXIS               $451.11    Lexis Resch User ID: 11819,
               4                                                                              User: LEVIN, RICHARD
  4        12/31/201        PANELLA,        RECS/LIB/          LEXIS              $(241.78)   LEXIS DECEMBER CREDITS
               4            D               CLKS
                                                               TOTAL              $1,605.23




   IF "1" = "1" "01/28/2015
   [[NYCORP:3511788v1:3170F:   SL1 1347903v1
                             01/28/2015--10:11   109285.00001" ""
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